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     Attorneys for Defendant,
10   IMESH PERERA

11

12                               IN THE UNITED STATES DISTRICT COURT

13                         FOR THE EASTERN DISTRICT OF CALIFORNIA
14

15   UNITED STATES OF AMERICA,                      ) Case No.: 2:10-cr-00347-MCE-1
                                                    )
16                  Plaintiff,                      ) JOINDER IN DEFENDANT TOREY
            v.                                      ) MOORE’S STIPULATION AND ORDER TO
17                                                  ) CONTINUE STATUS CONFERENCE
     DISHAN PERERA, et al                           )
18                                                  ) Court: Hon. Morrison C. England
                    Defendant.                      ) Time: 9:00 a.m.
19                                                  ) Date: May 31, 2012
                                                    )
20

21          Defendants Dishan Perera and Imesh Perera, by and through their respective attorneys of

22   record, HEREBY JOIN in Defendant Torey Moore’s STIPULATION to continue the Status

23   Conference set for May 31, 2012. is charged in Count One of a five count indictment alleging

24   violations of 21 U.S.C. §§s 841(a)(1) and § 846 – possession with intent to distribute and

25   conspiracy to distribute methamphetamine. A status conference was previously set for May 31,

26   2012. Defendants and the government have been engaged in settlement discussions. The

27   defendant’s sentence will be entirely determined by the sentencing guideline ranged used to

28   calculate the offense level for the substance “BZP”.


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 1   The guidelines have recently changed to add BZP to the listed chemicals used in determining the

 2   guideline range. The guideline calculations for BZP are sufficiently complicated that a pre-plea

 3   report is appropriate to analyze sentencing issues in this matter. The parties have spoken with

 4   the probation office and are in agreement that a pre-plea report would aid resolution of this

 5   matter. The probation office indicates that the process will take approximately six to eight weeks

 6   to complete. Therefore, the parties request a status conference date of August 2, 2012 and that

 7   date is available with the Court.

 8          The parties agree that time should be excluded under 18 U.S.C. § 3161(h)(8)(i) for

 9   defense preparation and under local code T4.

10
     DATED: May 30, 2012
11
                                         Respectfully submitted,
12                                       THE CRIMINAL DEFENSE GROUP

13
                                                 /s/               ______
14                                       Alan Baum, Esq.
15                                       Attorneys for Defendant,
                                         DISHAN PERERA
16

17   DATED: May 30, 2012
18                                       Respectfully submitted,
19
                                                /s/                ______
20                                       Mark Waecker, Esq.
21
                                         Attorneys for Defendant,
22                                       IMESH PERERA

23

24   DATED: May 30, 2012

25
                                                  /s/            _______
26                                       Todd Leras
                                         Assistant United States Attorney
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                                         Attorney for plaintiff
28                                       UNITED STATES OF AMERICA


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 1                                                               ORDER
 2

 3                         Pursuant to the parties’ stipulation, the status conference in this matter is hereby
 4   continued from May 31, 2012 to August 2, 2012 at 9:00 a.m. The Court hereby finds that the
 5   ends of justice to be served by granting this continuance outweigh the best interests of the public
 6   and the defendant in a speedy trial. Time is excluded in the interests of justice pursuant to 18
 7   U.S.C. § 3161 (h)(8)(i) and Local Code T4.
 8                         IT IS SO ORDERED.
 9
     Dated: June 4, 2012
10

11                                                            __________________________________
                                                              MORRISON C. ENGLAND, JR
12   DEAC_Signature-END:
                                                              UNITED STATES DISTRICT JUDGE
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